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 4

 5 Attorney for Lonell Lindsey

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 7
                                     UNITED STATES DISTRICT COURT
 8
                                    EASTERN DISTRICT OF CALIFORNIA
 9

10 UNITED STATES OF AMERICA,                       )   CASE NO. 10-CR00361-LKK
                                                   )
11                                Plaintiff,       )
                                                   )
12                                                 )
     v.                                            )
13                                                 )   STIPULATION AND ORDER
                                                   )   REGARDING RESTITUTION AND HEARING
14 Lonell Lindsey,                                 )   SENTENCING
                                                   )
15                                Defendant.       )   Date: July 26, 2011
                                                   )   Time: 9:15 am
16 __________________________________              )   Judge: Hon. Lawrence K. Karlton

17

18          Defendant, Lonell Lindsey was sentenced by this Court on June 29, 2011. A restitution hearing

19 was scheduled for July 26, 2011 to determine the appropriate restitution amount. Probation has

20 determined that the restitution amount owed is $37,056.40. Lonell Lindsey and the government, by and

21 through counsel, agree and stipulate that the Court shall enter an order setting the total amount of

22 $37,056.40 in restitution to be paid by Mr. Lindsey, jointly and severally with any co-defendants who

23 have been previously or will later be ordered to pay restitution to these same recipients.

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 1        The parties further stipulate that the hearing currently set for July 26, 2011 be taken off calendar.

 2 Dated: July 20, 2011                                         Respectfully submitted.

 3
                                                                  /s/ Kyle R. Knapp
 4                                                              Kyle R. Knapp
                                                                Attorney for Defendant, Lonell Lindsey
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 6 Dated: July 20, 2011                                         Respectfully submitted.

 7
                                                                  /s/ Carolyn Delaney
 8                                                              Carolyn Delaney
                                                                Assistant United States Attorney
 9                                                              Attorney for Plaintiff

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 6                                     UNITED STATES DISTRICT COURT

 7                                   EASTERN DISTRICT OF CALIFORNIA

 8
     UNITED STATES OF AMERICA,                   )   CASE NO. 10-CR00361-LKK
 9                                               )
                                    Plaintiff,   )
10                                               )
                                                 )
11 v.                                            )
                                                 )   ORDER
12                                               )
     Lonell Lindsey,                             )
13                                               )   Judge: Hon. Lawrence K. Karlton
                                    Defendant.   )
14                                               )
     __________________________________          )
15

16          For Good Cause Shown and pursuant to the stipulation of the government and defendant Lonell

17 Lindsey and the findings of the U.S. Probation Officer,

18          IT IS HEREBY ORDERED that defendant Lonell Lindsey pay restitution in the total amount of

19 $37,056.40, to the following victims in the following amounts

20    Victim                                             Restitution
21    Restitution Department                                    $6.146.17
      Discover Financial Services LLC
22    P.O. Box 6106
      Carol Stream, IL 60197
23
      Alpine Bank                                               $5,584.99
24    225 N 5th Street, Suite 520
      Grand Junction, CO 81501
25
      Truliant Federal Credit Untion                            $3,944.35
26    3200 Truliant Way
      Winston-Salem, NC 27103
27

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                                                     3                          10CR-00361-LKK
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 1    Redwood Credit Union                                          $3,399.50
      3033 Cleveland Ave., Suite 100
 2    Santa Rosa, CA 95406
 3    Georgia United Credit Union,                                  $7,787.99
      formerly known as Georgia Federal Credit Union
 4    37005 Sugarloaf Parkway
      Duluth, GA 90097
 5
      Huntington Bank                                               $4,569.35
 6    23 Federal Plaza West
      Youngstown, Ohio 43219
 7
      First National Bank of Omaha                                  $5,624.05
 8    P.O. Box 3437, Stop 3107
      Omaha, NE 68172
 9    Total Restitution:                                            $37,056.40
10
            Restitution shall be joint and several with any co-defendants who have been previously sentenced
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     or who are later sentenced to pay restitution to these same recipients. The Judgement Order shall be
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     amended to reflect this order of restitution. Further, the restitution hearing scheduled for July 26, 2011,
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     is hereby vacated
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            IT IS SO ORDERED.
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18 Dated: July 21, 2011

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                                                       4                               10CR-00361-LKK
